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UNITED STATES DISTRICT COURT

 

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FOR THE DISTRICT OF COLUMBIA H&§ §§ ZUY

GERALD LEE FARRELL
FCI Big Spring

1900 Simler Ave.

Big Spring, TX 79720
Reg# 16010-023

VS.

REX TILLERSON -

SECRETARY OF STATE

1350 Pennsylvania Ave.-NW
Washington, D.C. 20004

CORRIN FERBER -

DIRECTOR OFFICE OF LEGAL
AFFAIRS, BUREAU OF
CONSULAR AFFAIRS

600 19th. Street, N.W
lOth Floor

Washington, D.C. 20431

_coMPLAINT

 

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Case:t17-cv-OO490

Assigned To : Leon7 Richard J.
Assign. Date : 3/15/2017
Description: Admin. Agency Review

 

Gerald Lee Farrell
March 7th, 2017

Gerald Lee Farrell
16010-023

FCI Big Spring,
1900 Simier Ave
Big Spring, TX
39720

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TABLE OF CITED CASES AND STATUTES

STATUTES

1.

4.
5.

The Immigration and Nationality Act cf 1952 as codified
under 8 U.S.C. 1100 et Seq. Specifically, 8 U.S.C. 1481(&),
(b), 1481(1),(5),(6), 1483, 1488, 1501.

. Administrative Procedure Act as codified Umder 5 U.S.C.

700 et Seq., Specifically 702, 704 and 706(1)(2).

The Code of FederaluRegulationS, Title 22, Chapter I,
50.40, 50.50 and 50151 Specifically

5. U.S.c. 553; 23 U.S.c. 2201 and 1331 et Seq.

28 U.S.C. 1391(@)(1)

KEY CASES CITED

1.
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HaineS v. Kermer 404 US 519 (1972)

Encino Motorcars, LLC v. Hector Navarro, et. al.

U.S S. Ct. 2016 US LEXIS 3924 (2016)
Chevron U.S.A. Inc. va Natural ReS. Def. Council, lnc.
467 U.S. 837, 104 S. Ct. 2778 (1984)

. Afroyim_v. Rusk 387 U.S. 253, 258 (1967)

. Vance v. Terrazas 494 U.S. 252, 260 (1980)

. Riehards v. Secretary Of State 752 F .2d 1413, 9th Cir (1985)
. Nishikawa v. DulleS 356 U.S.129 (1958)

. United States v. Matheson 542 f .2d 809, 811 (2nd Cir 1976)

Concrete Pipe v. Pension Trust 113 S. Ct° 2264 (1993)
Schnitzler v. United States, 411 U.S. App D.C. 412 (D.C.
Cir. 2014)

Russello v. United States 104 S. Ct. 296 (1983)

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33266 D.D.c. (2016)

Fox v. Clint©n 401 U.S. App D.C. 271 (D.C. Cir 2012)

Motor Vehicle Mfr'S ASS‘n v. State Farm 103 S. Ct. 2856 (1983)
Marks v. Esperdy 315 F .2d 673, 676 (2nd Cir 1964) affirmed
in 377 U.S. 214 (1964) '

United States v. Yakou 428 F .3d 241(D.C. Cir 12005)

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J.

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BIA Matter of Davis #2650 (1978)

BIA Matter of Duggan #2026 (1970)

Jolley v. INS 441 F .2d 1245 (5th Cir 1971)

Kingdomware Techs. lnc. v. United States 579 US 136 2016)
Lozada Colon v. U.S. Dep't of State 2 F .Supp 2d. 43, 45
(D.D.C. 1998).

Whitehead v. Secretary Of State 794 F .2d 115 3rd Cir 1986)
Fox v. Clinton 751 F. Supp. 2d 122 D.D.C. (2010)

"The Survey Of the Law of Expatriation" Solicitor General
26 Op. OLC 56 2002

Foreign Affairs Manual - 7 FAM 1200 et. Seq.

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Exhibits as attached to and referenced within this €omplaint

EXHIBITS ' PARAGRAPH
1. copy cf U.s. sixth certificate 13
2. Letter From Zurich lnsurance establishing 13

long relationship to Switzerland (domicile)
3. Copy of Swiss Passport, issued 30th. Jan 2004 13

Official Records from Zurich "City Hall" 13
establishing long residence in Switzerland
including at time of arrest in 2013

5. Article covering Plaintiff from Swiss Magazine 17
with family photo

6. First letter requesting CLN to U.S. Embassy 24
(including supporting documents)**
June 22nd response from Embassy 25

8. July 21st Letter from "Pro Bono" counsel 29
to U.S. Embassy in Bern \

9. August 9th response from Vice Consul in Bern 30

10. August 19th response from plaintiff 31
11. September 14th response from Vice Consul 32
12. September 14th Email from plaintiff to Vice C. 40
13. September 19th appeal to the Bureau of Consul. 41
Affairs in Washington, D.C.
14. Response from Bureau on 9th of November 42
15. Detailed response from plaintiff and request 48
for final agency action, December 1. 2016
16. 13th of February 2017 response and denial 49
17. Letters from the Head of Chancery, Consul 37
Gasser dated 3rd of August, 9th of September
2015 verifying domicile and support for
plaintiff's return to "the country where he
was living almost 25 years"
** Exhibit #6 supporting documents included: A power

of attorney, copy of U.S. Birth Certificate, notarizedj
copy of plaintiff's Swiss passport, Bureau of Consular
Affairs "statement of understanding concerning the
consequences and ramifications of renunciation or
relinquishment of U.S. Nationality" (signed and notarized
in the presence of a U.S. Federal Officer), Affidavit

of verifying intent to lose United States citizenship
(signed and notarized in the presence of a U.S. Federal
officer), Oath of allegiance to the Swiss Confederation

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PLAINTIFF ALLEGES
I. Introduction

1. This action is brought "pro se" to challenge the
failure of the Secretary of State and Bureau of Consular Affairs
Office of Legal Affairs and its responsible officials (collect-
ively, "defendants") to perform a mandated duty owed to plaintiff.
Specifically, the plaintiff alleges that defendants decision
denying his request for a Certificate of Loss of United States
Nationality (CLN) was a clear violation of the Immigration and
Nationality Act of 1952 (lNA) and the Administrative Procedure`
Act (APA). Plaintiff also alleges that defendants have failed
,to show deference to the unambigously expressed intent of Congress,
Court or Board of lmmigration Appeal precedent decisions, nor the
Attorney Generalis legal opinions, which the Secretary is required
to defer to under the INA (Section 103(a). Finally, plaintiff
alleges that defendants have deviated both from the Code of
Federal Regulations and its own published policies governing the
issuance of CLNs based on the performance of an expatriating act
with the intent to reliquish U.S. nationality. Inexplicably, the
Secretary's actions are manifestly contrary to well-publicized
public policy which is committed to deporting all "criminal aliens".
Switzerland has gone on record that they will accept their citizen

back and have actively sought his return.

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2. Plaintiff is grateful to the court for construing
his complaint liberally under the principles of Haines v. Kerner
404 US 519 (1972) concerning citations and the strict adherance
to pleading rules as he is a pro se litigant.

3. ln 2004 the plaintiff voluntarily while personally
present on Swiss soil, obtained Swiss citizenship (naturalization)
on his own application, while over the age of eighteen years
and performed this act with the intention of forever relinquishing
his United States nationality. (INA Section 349(a)(1).

4. The plaintiff wrote on the 31st of May, 2016 to the
United States Embassy in Bern, Switzerland by power of attorney
to formally request a CLN supported by a copy of his Swiss
Passport, affidavit of intent to relinquish his United States
citizenship (utilizing form prescribed by the Secretary) and
an explanation that he had not made use of his U.S. citizenship
since commission of the expatriating act. He was denied by
the U,S. Embassy in Bern on the 22nd of June, 2016. Following
an unsuccessful chain of correspondence with the Embassy, plaintiff
appealed the denial to the Bureau of Consular Affairs/Legal
Affairs Office, which in turn also denied the plaintiff's
request for a CLN under INA Section 349(a)(1).

5. Plaintiff alleges that the defendant's denial of his
CLN is arbitrary, capricious and want of reasoned decision~
making. He further alleges that the denial is manifestly
contrary to law (INA Section 349(a)(1), the Code of Federal
Regulations governing the issuance of CLNs (CFR Title 22,

Chapter l, 50.40 and 50.51) and the agency's own published

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Policy. Further, the plaintiff alleges that the defendant's
denial has resulted in substantial and ongoing harm to the
plaintiff as it compels him to continue to associate with the
United States against his wishes.

6. Plaintiff asserts that Congress has directly spoken
to the precise issues at question and as such, the Secretary
must Hgive effect to the unambiguously expressed intent of

Congress" Encino Motorcars, LLC v. Hector Navarro, et. al.

 

U.S. S. Ct. 2016 US LEXIS 3924, quoting Chevron 104 S. Ct.

 

 

2778 (1984). Plaintiff asserts that defendantis actions do
not survive "Chevron Step one" as Congress's intent was clear
that: ll Loss of United States Nationality shall result from
obtaining naturalization in a foreign state, when the person
voluntarily applies for it, on foreign soil, while over the
age of eighteen years, with the intention of relinquishing
United States Nationality. 21 Proving commission and intent
shall be done by the preponderance of the evidence. 31 The
sole conditions governing loss of nationality shall be in

Chapter III of the INA. 4) Loss of Nationality is effective

 

upon the commission of the expatriating act, not its admin-
istrative determination. 5) The Secretary is required to
"administer and enforce" the provisions of the INA.

7. Plaintiff seeks declaratory and injunctive relief
under 706(1) of the APA to compel defendants to issue a CLN to
him in accordance with statutory law and his indisputable right to
expatriation under the holdings of Savorgnan v. U.S. 338 U.S. 491
498-499 (1950) and Afroyim v. Rusk 387 U.S. 253, 258 (1967).

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8. Plaintiff seeks a judicial determination of the
plaintiff's loss of United States nationality on the basis of
his commission of 349(a)(1) and having proven by the preponderance
of the evidence both the commission of the act as defined by
statute and his intent to forever relinquish his U.S.

nationality, consistent with the holdings in Vance v. Terrazas

 

494 U.S. 252, 260 (1980) and lNA Section 349(b).

 

II. Jurisdiction

9. This Gourt has subject matter jurisdiction over the
claims put forth in the Complaint pursuant to: (1) 28 U.S.C.
Section 1331 as plaintiff's claims arise under U.S. law,
including 8 U.S.C. 1101 et seq. (lmmigration and Nationality Act
(INA)) and (2) 5 U.S.C. 701 et seq. (Administrative Procedures
Act (APA)) and 706(2). Further plaintiff asserts that he has
exhausted all available legal remedies, culminating in the denial
of his request for a Certificate of Loss of Nationality (CLN).
This Court may find relief under 5 U.S.C. 553 and 701 et seq.

(APA), 28 U.S.C. 2201 and 1331 et. seq.

lll. Venue
10. Venue is appropriate in this Court pursuant to
28 U.S.C, 1391(e)(1), as amended, which provides for a civil
action in which each of the defendants is an officer or employee
of the U.S. government or any agency thereof acting in his or
her official capacity or under color of legal authority, or

is an agency of the United States, to be brought in any Judicial

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district in which a defendant in the action resides. In the
instant case, the Department of State and the Bureau of Consular
Affairs are headquartered within the jurisdiction of the District
Court of the District of Columbia.

11. Plaintiff further asserts that a substantive part
of the events and omissions contained in this Complaint arose
within the jurisdiction of this Court, including the final agency
action: the denial of plaintiff's request for a Certificate of
Loss of U.S. Nationality.

12. Plaintiff further asserts that in the interests
of Judicial Economy and Justice warrant jurisdiction in this
Court as the agency's actions are subject to the descretion of
the Secretary of State and the Department of State, who is
headquartered in and performs a significant portion of his

duties within the Gourt's jurisdiction making the venue proper.

IV. Plaintiff

13. Plaintiff, Gerald Lee Farrell proceding pro se was
born in Santa Clara, California and moved to Switzerland in his
twenties (1994). He married a Swiss Citizen in 1996 in Zurich.
His daughter was born in 2005 in Zurich. Plaintiff's personal and
cultural identity is Swiss. He speaks fluent Swiss German and all
his friends, work history and immediate family are Swiss. In 2004,
he became a Swiss Citizen, while personally present on Swiss soil,

on his own application and while over the age of eighteen years,

withithe intent to forever relinquish his U.S. nationality.

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Plaintiff was extradited from Europe in 2013 on an almost 10 year
old warrant, stemming from allegations made against him in 2003.
He is currently resided by compulsion, in Big Spring Texas. Should
the plaintiff prevail in this suit, he will be declared deportable
under the law and be forever banned from re-entry into the United
States. This position is consistent with U.S. public policy and
law and the plaintiff is baffled:by theegovernmentlspending tax-

payer's money to prevent this deportation.

V. Defendants

14. Defendant Rex Tillerson is the Secretary of State
of the United States and is named here in his official capacity
as well as his successors. The Secretary of State is required by
statute to enforce and Administer the INA and to delegate such
powers and authorities to subordinate employees of the Department
of State. The Secretary of State is domiciled for the purpose
of this action in the District of Columbia and performs a substantial
part of his duties within the jurisdiction of the Court.

15. Defendant Corrin Ferber is the Director of the Office
of Legal Affairs within the Department of State, Bureau of
Consular Affairs and is named here in her official capacity,~as
well as her successors. Corrin Ferber has been delegated by the
Department of State to adjudicate claims of Loss of Nationality
under the INA and for the purposes of the INA is a "Consular
Officer" as defined in Section 101(a)(9). Corrine Ferber is
domiciled for the purposes of this action, within the jurisdiction

of this Court.

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VI. Factual Allegations and Background

16. "In 1868, Congress declared that "the right of
expatriation is a natural and inherent right of all people,
indespensable to the enjoyment of the rights of life, liberty,
and the pursuit of happiness" ACT of July 27, 1868, ch. 249,
pmbl., 15 Stat. 223, 223; see also 8 U.S.C. 1481 note (2000)
(quoting Rev. Stat. 1999 (2d. ed. 1878), pt. 1. at 350 (repl.
vol.)) (same). That declaration further stated that "any
declaration, instruction, opinion, order, or decision of any
officers of this government which denies, restricts, impairs,
or questions the right of expatriation, is hereby declared
inconsistent with the fundimental priciples of this government"

15 Stat. at 224. Survey of the Law of Expatriation, John Yoo

 

Opinion of the Solicitor General 26 op. OLC 56 2002.

17, Plaintiff has a very personal and deep connection
to Switzerland which has been his home for the majority of his
adult life, where he married, had a child and where he finds
his personal identity. Plaintiff feels deeply loyal to
Switzerland and both morally and personally identifies with
the long tradition of Swiss neutrality and its culture.
Conversely, plaintiff has no loyalty or desire to associate
himself with the United States of America, and being compelled
to do so is distressing and completely incompatable with
plaintiff's personal identification as a Swiss.

18. Section 349(a)(1) of the lNA states that "A person
who is a national of the United States whether by birth or

naturalization, shall lose his nationality by voluntarily

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performing any of the following acts with the intention of
relinquishing United States Nationality." INA Section 349(a)
expresses seven ways to lose United States Nationality, the first
of which is "obtaining naturalization in a foreign state upon

his own application or upon an application filed by a duly
authorized agent, after having attained the age of eighteen
years" (INA Section 349(a)(1). "If a citizen makes that choice
and carries it out, the choice must be given effect" Richards v.

seetetety et state 752 F .2d 1413, 9th ctr (1935)

 

19. "Under current federal law, any party claiming that
a person has abandoned his citizenship must establish three
elements. See 8 U.S.C. 1481(a)(b) (2000>. First, the person

must take one of the statutorily enumerated acts of expatriation

such as, "obtaining naturalization in...a foreign state after
reaching the age of eighteen". Second, he must act "voluntar-
ily". See also Nishikawa, 356 U.S. at 133. Third, he must act

 

'with the intention of relinquishing United States Nationality".
Survey of the Law of Expatriation (supra) (Emphasis Added)

20. In proving the claim of loss of nationality, the
party claiming the loss bears the burden to prove by the
preponderance of the evidence that he both committed the exp-
atriating act and that he intended to reliquish his United States
Nationality. (Terrazas supra), INA Section 349(b). “The burden
of showing something by the preponderance of the evidence, is
the most common standard in civil law and simply requires the
trier of fact to believe that the existence of a fact is more

probable than its nonexistence before [he] may find in favor

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of the party who has the burden to pursuade the [judge] of

the fact's existence". Concrete Pipe v. Pension Trust 113

 

S. Ct. 2264 (1993). "Since United States citizenship is
considered by most to be a prized status; it is usually the
government which claims that the citizen has lost it, over the
vigorous opposition of the person facing the loss;" United
States v. Matheson, 542 F .2d 809, 811 (2nd Cir. 1976) also

quoted in the "Survey of the Law of Expatriation" (supra)

 

21. The Secretary's policy for administratively
adjudicating potentially expatriating acts pursuant to lNA
349(a) paragraphs (1~3), can be found in the Code of Federal
Regulations Title 22, Chapter l, 50.40 as well as in the Foreign
Affairs Manual 7 FAM 1200 et. seq. The Secretary assumes an
administrative presumption regarding certain acts, namely the
commission of INA Section 349(a)(1-3) in that a person commit-
ting one of these acts did not commit the act with the intent
of losing their U.S. Nationality. However, CFR 50.40 expressly
states that "a person who asserts [to] a consular officer after
he or she has committed a potentially expatriating act, that it
was his or her intent to relinquish U.S. Citizenship [will lose]
his or her citizenship." (Emphasis Added)

22. Conversely, the performance of expatriation by

"formal renunciation" is governed by INA Section 349(a)(5),

 

where one must expressly appear [before] a consular officer
in a foreign state and [in a form prescribed by the Secretary].

Formal renunciations are defined in CFR Title 22, Chapt l, 50.50

 

as well as in the_foreign Affairs Manaual 7 FAM 1200 et. seq.

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23. The plaintiff has been requesting a CLN from the
defendants since the 3lst of May, 2016. In a long chain of
correspondence, the plaintiff has repeatedly asserted his right
to have his loss of nationality acknowledged through the issuance
of a CLN, yet the American Embassy in Bern and later the Bureau
of Consular Affairs,.Director of Legal Affairs, has continued

to deny his request. "ln Afroyim v. Rusk, 387 U.S. 253 (1967)

 

the [Supreme] Court placed the right of voluntary expatriation
solidly on a Constitutional footing." (quoting Richards v. Sec'y
Of State, 752 F r2d 1413, 1422 <9th Cir 1985)" Schnitzler v.

 

United stetes, 411 U.s. App. D.c. 412 (D.C. cite 2014)

 

24. On May 31st, 2016 the plaintiff wrote to the U.S.
Embassy in Bern, Switzerland through his power of attorney and
made a formal request [to] a consular officer for the issuance
of a CLN (see CFR Title 22, Chapt l, 50.40) (emphasis added)
ln order to establish plaintiff's claim that he had fulfilled
all of the elements of INA Section 349(a)(1) as well as to
satisfy the requirement to prove his intent to relinquish
his U.S. Nationality by the required preponderance of the
evidence standard (349(b), the plaintiff provided to the
Embassy: a copy of his U.S. Birth Certificate, a notarized
copy of his Swiss Passport (issued 30th Jan, 2004), ant
executed and notarized "Statement of Understanding Concerning
the Consequences and Ramifications of Renunciation or Relinquish-
ment of U.S. Nationality" (on the State Department's form), an
additional Affidavit of lntent to Relinquish U.S. Citizenship,
and a notorized "Oath of Allegiance to the Swiss Confederation

as further proof of his abandonment of U.S. citizenship. Each

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document was signed and witnessed by a U.S. Federal Officer.

25. On the 22nd of June 2016, the Vice Consul in Bern
responded recognizing that plaintiff had acquired Swiss citizen~
ship, but denied the request for the CLN, stating that plaintiff
had obtained in 2013 a U.S. Passport and therefore since he had
"made use of the privilege of his U.S. citizenship to_a new
passport expatriation does not apply in this case." The Consul
then asserted that "U.S. citizenship must be renounced 1) in the
presence of a consular officer; 2) outside of the United States;
3) in the precise form prescribed by the Secretary of State."
ln essence, these are the exact requirements of 349(5) which
are not even remotely similar to 349(1) under which plaintiff
has expatriated and this Complaint falls. Comparing 349(1)
and 349(5) of the INA:

349(1) "obtaining naturalization in a foreign state upon his own
application or upon an application filed by a duly authorized
agent, after having attained the age of eighteen years."

349(5) "making a formal written renunciation before a diplomatic
or consular officer of the United States in a foreign state, in
such a form as may be prescribed by the Secretary of State."
349(5) expressly requires a formal renunciation [before] a
diplomatic or consular officer of the United States in a foreign
state §§Q "in such a form as prescribed by the Secretary of State"

26. Plaintiff argues that defendant's interpretation of
of 349(1) does not follow the procedures required by law as
expressed by Congress's plain language intent in Section 349 (1-7)

of the INA which unambiguously sets forth distinct conditions under

which in each of the seven circumstances, a national loses his U.S.

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nationality. Plaintiff asserts that defendant is essentially
writing Section 349(1) out of the statute, which is an abuse
of his discretion and not in accordance with law.

27. Plaintiff asserts that Congress intentionally drafted
349(1) and 349(5) as separate and unique paragraphs. ln 349(5) an
appearance [before] a consular officer is required, 349(1) has
no such requirement. "[W]here Congress includes particular language
in one section of a statute but omits it in another section of the
same Act, it is presumed that Congress acts intentionally and
purposefully in the disparate inclusion or exclusion." Russello v.

United States 104 S. Ct. 296 (1983) Recently, the government

 

argued the importance of adhering to the plain language of expat-
riating statutes insisting that 1481(6) (Section 349(6) of the INA)
"requires that a renunciant make his renunciation 'before such

an officer'" Kwok Sze v. Jeh Johnson et. al 2016 U.S. Dist.

LEXIS 38266 (D.D.C. 2016). Plaintiff argues that defendant is
equally bound to adhere to the plain language intent as spoken

by Congress in 349(1) which has no such requirement to appear
before him, nor does it prescribe in what form the expatriation
must take place other than the elements of the statute itself.
Further, Section 356 expressly prohibits additional conditions
being required before nationality is lost under each of the seven
paragraphs in 349(a).

SECTION 1 OF THE INA EXPRESSLY DOES NOT REQUIRE A PERSONAL

APPEARANCE BEFORE A CONSULAR OFFICER NOR DOES IT CONFER AUTHORITY
TO PRESCRIBE THE FORM lN WHICH THE RENUNCIATION SHALL TAKE PLACE

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28. The D.C. Circuit has already spoken to this issue in
another case involving a former U.S. citizen's request for a CLN
years after he had committed the expatriating act (349(1)) who
like plaintiff, was requested to come before the consular officer
in person, before the consulate would process his request. The
record is clear that the plaintiff in that case refused to appear
and never did appear: "(l)t is immaterial here whether Appellant
could receive a CLN under section 5. There is nothing in the INA
to suggest that an individual who might be entitled to a CLN under
one provision cannot be entitled under another. The fact that
Appellant could have received, or still could receive, a CLN
under Section 5, cannot, without more, justify the Department's
denial of Appellant's request for a CLN under Section 1." Fox v.

Clinton 401 U.S. App D.C. 271 (D.C. Cir 2012)

 

"pro bono" to

29, Plaintiff was then assisted by counsel
correspond with defendants, who replied on the 21st of July,
2016 to the Honorable Ambassador Levine and explained that the
alleged 2013 passport wasa "passport of direct return" as defined
in CFR Title 22, Chapt 1, 51.20 and was requested by the U.S.
Marshall Service without the knowledge, consent or desire of the
plaintiff. This passport was of limited duration and was used
for the sole purpose of extraditing the plaintiff from Europe to
the U.S. to face criminal charges levied against him stemming from
allegations made in 2003. Plaintiff alleges that defendantis
denial on the basis of the alleged 2013 passport of direct return

"runs counter to the evidence before the agency" and has not

"articulate(d) a satisfactory explanation for its action including

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a rational connection between the facts found and the choice made"
Motor Vehicle Mfr's Ass'n v. State Farm 103 S. Ct. 2856 (1983) as
it is clear that the alleged 2013 passport, issued at the request
of the government and not the plaintiff, should not have a color-
able influence in determining his intent to relinquish his U.S.
Nationality. Plaintiff asserts that the burden lies on the
Government to prove the origin of the 2013 passport as they have
cited it as a reason for denying plaintiff's request for a CLN
and used it to question his intent.

30. On the 9th of August, 2016 the Vice Consul in Bern
Mathew A. Boullioun replied and enclosed information regarding how
a citizen expatriates, solely reciting the requirements under
349(5) of the lNA and requesting that plaintiff bring "$2'350“~
(dollar bills printed before 2006 are not accepted) for administ-
rative processing of 'formal expatriation'.“

31. Plaintiff's counsel answered the defendant on the 19th
of August, 2016 explaining again that plaintiff already performed
all of the requirements of INA Section 349(1) and had proven his
intent to forever relinquish his United States Nationality, by
the required preponderance of the evidence through the supplied
affidavit and fair inference of his post expatriation conduct
following his 2004 expatriating act. "(I)ntent to relinquish
citizenship...[can be] expressed in words or....found as a fair

inference from proved conduct" Vance v. Terrazas 444 U.S. 252

 

(1980) The D.C. Circuit has also spoken to the issue of the
Department's requirement for "objective and independant evidence"

in proving expatriating acts and their intents "in most situations

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the Departmentis requirement for objective evidence should be
easy to satisfy. 1n a future case, if the Department applies
the requirement in a burdensome or otherwise unfair way, that
application would be subject to judicial review under the
arbitrary and capricious standard." Fox v. Clinton (supra)

32. On the 14th of September, 2016 Vice Consul Boullioun
after consulting with the attorneys in the Bureau of Consular
Affairs at the Department of State, again denied plaintiff's
request for a CLN on the basis to do so, is prohibited by INA
Section 351(a). Plaintiff asserts that defendant has made this
conclusionary statement absent any authority to support his
position. Plaintiff also asserts that defendant's conclusion
is contrary to the statute, long held Court holdings as well as
Board of 1mmigration Appeals (BIA) precedent decisions and
the Attorney General's opinion, to whom the defendant must
by statute defer (INA Section 103(a)).

33. 1n each of the 1NA Sections under Chapter 111 "Loss
of Nationality", Congress has unambiguously linked "Loss of
Nationality" with the "Performance" of the expatriating act.

1NA Section 349(a) states "A person who is a national of the

 

United States whether by birth or naturalization, shall "lose

his nationality" by voluntarily "performing" any of the follow~

ing acts" (emphasis added).

INA Section 356 states "The "loss of nationalityv shall

 

result solely from the performance" by the national of the acts
or fulfillment of the conditions in this chapter." (emphais added)

See also CFR Title 22, Chapt 1, 50.51(0) "Reviewing a finding

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of loss of nationality." "When the Department reverses a finding

of "loss of nationality", the person concerned shall be considered

not to have "lost U.S. nationality as of the time of the
expatriating act was committed{ and the Certificate of Loss

of nationality shall be vacated." (emphasis added)

1NA Section 351(a) upon which the Secretary relies, states

 

"Except as provided in paragraph (6) and (7) of Section 349(a)
of this title, no national of the United States can "lose United
States nationality" under this Act while within the United States

or any of its possessions, but the "loss of nationality" shall

 

result from the @performance" within the United States or any
of its outlying possessions, of any of the acts or fulfillment
of any of the conditions specified in this chapter if and when
the national takes up residence outside of the United States
and its outlying possessions¢" (emphasis added). The defendant
has never disputed that plaintiff was personally present on
foreign soil when he performed the expatriating act (349(a)(1)
in 2004 and in fact thereafter took up residence. Plaintiff
asserts that he has proven both the commission of the expatriating
act was performed on foreign soil and met the burden of proving
so by the preponderance of the evidence (349(b)) making him
fully compliant with Section 351(a).

34. Courts have long held that "Congress sought by the
enactment of Section 356 of the 1mmigration and Nationality Act
of 1952, 8 U.S.C. 1488, to have [loss of nationality] occur
immediately upon [commission] of the expatriating acts." Marks v.

Esperdy 315 F .2d 673, 676 (2nd Cir. 1964) affirmed in 377 U.S.

 

214 (1964). (see also "Survey of the Law of Expatriation, John

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Yoo (supra). (emphasis added). Plaintiff respectfully argues

that "commission" is synonymous with "performance" as Congress
articulated in Sections 349, 351, 356 of the 1NA. By no means

can it mean "administrative determination". The plaintiff, like
llMarks" committed his expatriating act while on foreign soil and
both would find themselves incarcerated at the time their alienage
determined. The Court found that "Marks" had "expatriated at

the time the expatriating acts were committed, not at the time

his alienage was judicially determined." (Marks supra)

35. The D.C. Circuit has spoken to the issue of when
nationality is lost holding: "There are no exceptions listed in
1481 or 1488 (349 or 356 of the lNA) requiring administrative or
judicial determinations before citizenship is lost...it is con-
sistent with Congress's determination that United States citizen~
ship may be lost automatically, without any administrative or
judicial determination when a person has voluntarily engaged in
certain conduct with the requisite intent." United States v.

Yakou 428 F .3d 241 D.C. Cir (2005) (citing Marks supra) see

 

also Afroyim v. Rusk 387 U.S. 253 (1967).

 

36. The Board of 1mmigration Appeals (BIA) has clarified
the applicability of 1NA Section 351 upon which the defendant
relies. 1n the matter of Davis, BIA Precedent Decision # 2650
(1978) the B1A explained that "Congress evidently believed that
certain acts [performed] in the United States, should not result
in expatriation unless the person thereafter took up a residence
outside of the United States. The way that Concress defined

'residencei (8 U.S.C. 1101(a)(33)) when read in relation to

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Section 351(a), clearly shows that it did not want statelessness
to be a bar to expatriation." .Going on to cite Jolley v. 1NS
441 F .2d 1245 (5th Cir 1971) (emphasis added) who similarly had
his alienage determined while on U.S. soil, regardless of the
determination making him "stateless".

37. 1n the matter of Duggan - B1A Decision #2026 (1970)

 

while the defendant was in custody on U.S. soil, his alienage
was determined by the government for an expatriating act he had
committed on foreign soil. The B1A held " that expatriation did
take place under Section 349(3) of the Act. And (h)aving so
determined, it is unnecessary to consider whether applicant also
expatriated....under 349(6) as one who made a formal renunciation
before a consular officer of the United States in a foreign state."
The Board went on to find him excludible and deportable upon his
release from prison and since Canada went on record that they would
accept him, he would be deported to Canada upon his release.
Switzerland has also gone on record to accept their citizen as
well. Plaintiff asserts that the Secretary is required by the
INA to defer to the Attorney General and BIA precedent decisions
(Section 103(a)).

38. The defendant has never disputed that the plaintiff
performed the expatriating act of obtaining naturalization and
has performed this act, while he was present on foreign soil.
The record is also clear that plaintiff will not be made "Stateless"
by the loss of his U.S. nationality as he is a Swiss citizen.
Plaintiff asserts that defendant's reliance on Section 351 as

a basis to deny his CLN claim is not supported by the statute,

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Court or BIA precedents.

39. Plaintiff additionally contends that a reversal of
this over 50 year precedent would lead to the absurd result that
a U.S. national could commit each and every paragraph of Section
349(a)(1-5) and as long as he returned to U.S. soil, the
government would not be able to prosecute him under the 1NA
for performing the acts. 1n no way can Congress's intent be so
absurdly misconstrued in reading 1NA Sections 349(a), 351 and
356.

40. Plaintiff's counsel sent an email to the Vice
Consul, attempting again to explain the differences between
Section 349(1) and (5) as well as the process as defined in
CFR 50.40 versus 50.50, but this email went unresponded.

41. 0n the 19th of September, 2016 plaintiff appealed
to the Director of Consular Affairs, Legal Affairs Office
which according to the information provided by the Vice
Consul in Bern, was the responsible office for reviewing
denials of CLN requests. Plaintiff's counsel provided the
Bureau of Consular Affairs a complete overview of the correspond~
ence to date as well as the supporting evidence with anew a fomal
request for issuance of the CLN based on plaintiff's expatriation
under Section 349(a)(1).

42. The Director of the Office of Legal Affairs responded
on the 9th of November, 2016 and asserted that she "can not
approve the CLN for Mr. Farrell based on 349(1) at this time."

Firstly, she asserted that "as a threshold matter, the Department

cannot approve a CLN based on 1NA 349(a)(1) while a U.S. national

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is residing in the United States." However, in the matter of
Richards v. Secretary of State 752 F .2d 1413 (9th Cir 1985),
the record shows that the Secretary both approved and served the
CLN to Richards while he was physically on U.S. soil in Califor-
nia, following their determination that he had committed an
expatriating act while on foreign soil by obtaining citizenship
in Canada. Plaintiff asserts that defendant's denial on the
basis of Section 351 or agency precedence is improper and

lacks any coherence, futher making this decision arbitrary

and capricious.

43. Plaintiff contends that defendant has drawn
erroneous conclusions from court holdings completely distinguish-
able from plaintiff's claim in three crucial ways: Firstly,
in each of her cited cases where prisoners were seeking to
renounce their citizenship with the Department of Homeland Sec-
urtity, they were seeking renunciation under 349(6), not 349(1)
as is the case with the plaintiff. Second, 1NA 349(6) expressly
requires two crucial elements that 349(1) does not, namely, the
renuciation must take place [before] such an officer as designated
by the Attorney General in a [form] as prescribed by him. Neither
of these elements are present in 349(1), under which the plaintiff
has requested a CLN. Thirdly, in each of her cited cases the

common theme is that the prisoner has not yet committed an

 

 

expatriating act and because of the requirements of personal
appearance and that the renunciation be in a form prescribed,
they are not able to perform the expatriating act. Additionally,

as they are on U.S. soil, Section 351 of the INA prevents them

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from "performing" any other expatriating act. (emphasis added)
44. Defendant asserts in her letter that "INA Section
351(a) and Section 358 read together prescribe legal requirements
fér the Department's approval of the CLN. 1mplemented further
by regulation and established Foreign Affair Manual procedures
that safeguard Constitutional protections of voluntariness and
intent." Plaintiff asserts two points: Congress set forth
unambiguously "the legal requirements" for expatriation under
349(a)(1-7) and expressly limited additional requirements under
356. Secondly, Plaintiff asserts that the "safeguards" are
designed to prevent [unwanted] loss of nationality, not when
an individual is [seeking] it and has provided proof of his
commission of the expatriating act and his intent by the
statutorily required preponderance of the evidence (349(b)). "1f

a citizen makes that choice and carries it out, the choice must

be given effect." "United States citizens have a right to become
aliens. 1n Afroyim, the Court placed the right to voluntary

expatriation solidly on a Constitutional footing." Ridhards v.

Secretary of State (supra) also cited by the Solicitor General

 

in his "Survey of the Law of Expatriation" (supra)

45. Defendant additionally erroneously asserts that "Loss
is not automatic upon commission of the expatriating acts."
However, this is manifestly contrary to "Congress's determination
that United States citizenship may be lost automatically, without
any administrative or judicial.determination, when a person has
voluntarily engaged in certain conduct with the requisite intent.

see U.S.C. 1481, 1488 (2000)" §nited States v. Yakou, D.C. Cir

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2005 (supra). also citing Marks v. Esperdy (supra).

46. Plaintiff alleges that defendant's position concerning
the legal requirements for the issuance of a CLN is also manifest-
ly contrary to how Congress drafted and passed the 1NA. Notably,
Section 349(a)(1-7), Section 351 and Section 356 were specifically

drafted in [cHAPTER 1111 of the 1NA titled "Leea of Nationality".

 

Section 358 however, was placed in [CHAPTER 1V] titled
"Miscellaneous". 1n Chapter 111, Congress expressly defined
each of the seven acts, each having unique requirements if
"performed", would result in the loss of U.S. nationality (INA
Section 349(a)(1-7) and once "performedt proving so must be

by the preponderance of the evidence (349(b». 1n Section 351
Congress reiterated that these acts must be "performed" on
foreign soil. Most notably, and fatal to the defendant's
argument, Section 356 expressly states that "The [loss of
nationality] Shall result solely from the [performance] by a
national of the acts or fulfillment of the conditions specified
in [this chapter]." (emphasis added) 1n fact, in the application
notes of Section 356, Congress clearly defined "this chapter"

to mean Chapter 3 of the INA. Plaintiff contends that Congress

 

has unambiguously spoken that "Loss of Nationality shall result
solely from the performance of the acts or fulfillment of the
conditions in this chapter" Section 356 of the 1NA, which
expressly limits those conditions to conditions within

Chapter 111. "1f Congress has spoken on the matter, that is the

end of the inquiry" Kingdomware Techs. 1nc. v. United States

 

579 US 136 2016. Plaintiff asserts that Congress was insistent

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that nothing outside of Chapter 111, to wit in Chapter 1V
"Miscellaneous" should override their intent as plainly expressed
in Chapter 111 "Loss of Nationalityd. ln Chapter 1V, Section 358
prescribes the administrative procedures and directs the Secretary
to examine whether a person has committed an act while on foreign
soil - specifically "provisions of Chapter 3" and if he has
reason to believe such an act was committed, the consular officer
(as defined in Section 101(9) of the 1NA) "shall certify the facts
upon which such a belief is based to the Department of State, in
writing, under regulations prescribed by the Secretary of State."
The use of the word "§hall: mandates that he must certify the
VQAQL§F. He is then given the discretion to approve "the report"
which according to law of the 1NA must be based on whether he
has been provided proof of "performance" of the act on foreign
soil and that this act was "performed with the intent to
relinquish United States nationality", both by the statutorily
mandated preponderance of the evidence standard~“349(b). He
is presumed to have committed this act.voluntarily-349(b).

47. Courts have long held that Section 358 focuses on the
administrative process for obtaining and certifying the facts
of a potential loss of nationality based on the consular officer's
"report". Notably, in 1994 Congress added one sentence to the
statute (358(b)). "The final sentence in the section refers
[only_to the approval of the certificate] because its purpose is
to delineate when the statute of limitations begins to run for
the purposes of an appeal to the Board of Appellate Review under
22 C.F.R 7.5 or action under Section 360 of the 1mmigration and

Nationalit Act." Lozada Colon v. U.S. Dep't of State 2 F. Supp
y

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2d. 43, 45 (D.D.C. 1998). Courts have consistently held that
"Loss of Nationality is in all cases to result from the

existence of facts" Whitehead v. Secretary of State 794 F .2d
115 3rd Cir (1986). "Section 1501 (INA 358) is not a statute
specifying procedure for the administrative "determination" of

a claim of right or privilege as a national of the United States.
The functions required of the various entities are purely
ministerial." Whitehead (supra). "Therefore, the agency's
decision, and whether such a decision was arbitrary or capricious,
an abuse of discretion, or othewise not in accordance with law,

is viewed through the lens of whether (plaintiff) established his
expatriating acts to the agency by a preponderance of the evidence."

Fox v. Clinton 751 F. Supp. 2d 122 D.D.C. (2010).
48_ On the 1st of December, 2016 plaintiff made a final

attempt to argue his legal position for the issuance of a CLN
on the basis of 349(a)(1) by addressing each of the defendant's
issues in her letter from November 9th, 2016. Plaintiff argued
the issues thoroughly citing controlling case law by the Courts
and BIA precedents as well as the controlling statutes under-
pinning this case. Plaintiff expressly asked defendant in the
event that she remain unpersuaded to issue the CLN to the
plaintiff, that she should indicate this as her final agency
action. 5

49. Defendant responded on the 13th of February, 2017 again
denying plaintiff's request for a CLN on the basis of 349(1),
which for the purposes of this complaint, plaintiff asserts is

the Secretary's final agency action, as it represents the

consummation of the Department's decision making process, from

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which plaintiff has been denied the right to expatriation and
the issuance of a Certificate of Loss of Nationality under

Section 349(a)(1) of the lNA.

V11 Exhaustion of Remedies

50. The Legal Affairs Office of the Bureau of Consular
Affairs at the Department of State is the administrative body
which reconsiders denials for a Certificate of Loss of Nationality.
They have conducted a de novo review and concluded that they can
not issue plaintiff a CLN based on his 2004 commission of lNA
Section 349(a)(1) while personally present in Switzerland. There
is no other remedy available to the plaintiff. The denial by the
Bureau of Consular Affairs constitutes final agency action in this

case and for the purposes of 5 U.S.C. 704.

V111 Claims
for relief

Count 1
APA, 5 U.S.C§ 701 et seq.

51. Plaintiff re-alleges and incorporates by reference
the allegations contained in paragraphs 1-50 of this Complaint,
as if fully set forth here.

52. The Administrative Procedure Act provides that "[a]
person suffering legal wrong because of agency action, or
adversely affected or aggrieved by agency action within the

meaning of a relevant statute, is entitled to judicial review

thereof." 5 U.S.C. 702.

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53. The Administrative Procedure Act further empowers
the Court to "hold unlawful and set aside agency actions, findings,
and conclusions found to be ... (A) arbitrary, capricious, an abuse
of discretion, or otherwise not in accordance with law; (B)
contrary to constitutional right, power, privilege, or immunity;
[or] (C) in excess of statutory jurisdiction, authority, or limit-
ations, or short of statutory right" 5 U.S.C. 706(2).

54. The conduct and decisions of Defendants as described
above constitutes unlawful action that has caused plaintiff to
suffer legal wrong reviewable by this Court under APA, 5 U.S.C°
706.

Count 11

Declaratory and 1njunctive Relief,
28 U.S.C. 2201 & Fed. R. Civ. P. 65*

55. Plaintiff re-alleges and incorporates by reference
the allegations contained in paragraphs 1-50 of this Complaint,
as if fully set forth here.

56. The Declaratory Judgment Act, 28 U.S.C. 2201 grants
this Court authority to declare the Plaintiff's legal rights
when an actual controversy exists.

57. Plaintiff and Defendants have adverse legal interests
that are of sufficient immediacy and reality to warrant the
issuance of a declaratory judgment in accordance with 28 U.S.C.
2201.

58. For reasons stated above, plaintiff is entitled to a

declaration of his rights.

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59. A failure to enjoin Defendant's unlawful, arbitrary
and unreasonably delayed issuance of a CLN has and will continue
to cause plaintiff to suffer injury in that it will deprive him
from his right to expatriation and compel him to continue
association with the United States against his wishes and fail
to protect him from agency action that is arbitrary, capricious,
in bad faith, or contrary to law.

60. No adequate remedy at law exists.

61. Plaintiff is entitled to injunctive relief enjoining
Defendants from continuing their unlawful refusal to issue a CLN
as alleged in this Complaint.

62. Defenandants have no protectable interest in the

continuation of their unlawful and arbitrary conduct.

IX Prayer for Relief

Plaintiff Gerald Lee Farrell respectfully requests that
this Court enter a judgment in his favor and:

A. Declare that the Defendants have violated Plaintiff's
right to expatriation under 349(a)(1) of the 1mmigration and
Nationality Act of 1952.

B. Declare that Defendants have acted arbitrarily, capricioiusly
and unreasonably denied Plaintiffis request for a Certificate of
Loss of United States Nationality, which is contrary to law.

C. Declare that Defendants have violated 349(b) and 5 U.S.C.
706(2) in excess of statue authority and limitation by requiring

a higher burden of proof and requiring Plaintiff to prove

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voluntariness before they will adjudicate Plaintiff's request for
a CLN under 349(a)(1).

D. A Judicial Determination that Plaintiff's voluntary
loss of Nationality under 1NA Section 349(a)(1) has been proven
by the preponderance of the evidence and that Plaintiff assumed
the status of an alien in 2004 at the time of the performance
of the expatriating act. The Plaintiff is not a U.S. Citizen.

E. A Judicial order requiring Defendants to issue to
Plaintiff a Certificate of Loss of U.S. Nationality under its
authority granted in 5 U.S.C. 706(1).

F. Grant to Plaintiff such other relief that this Court
deems just, equitable and proper.

F. Award Plaintiff costs pursuant to the Equal Access to
Justice Act or other applicable law.

G. Maintain jurisdiction over this action until the Secretary
of State, Department of State Bureau of Consular Affairs have

complied with this Court's orders.

Dated: 34 gi l 75

Gerald Farrell - Plaintiff (pro se)

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Gerald Lee FarrdTl
FC1 Big Spring
1900 Simler Avenue
Big Spring, Texas

7972 Us
Reg# O16010- 023

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